                 UNITED STATES DISTRICT COURT FOR THE
                    EASTERN DISTRICT OF TENNESSEE
                           AT GREENEVILLE



 UNITED STATES OF AMERICA                     )
                                              )
 v.                                           )      NO. 2:03-CR-73
                                              )
                                              )
 LEKO JONES                                   )


                                      ORDER


             This criminal matter is before the Court to address a motion filed by the

 defendant, who is subject to mandatory detention, to be permitted to attend the funeral

 of his mother on February 20, 2005 in Burlington, North Carolina. Based upon the

 defendant’s lengthy criminal history which includes charges for violent offenses and

 charges involving firearms, it is hereby ORDERED that this motion is DENIED.



             ENTER:

                                                      s/J. RONNIE GREER
                                                  UNITED STATES DISTRICT JUDGE




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